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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF OKLAHOMA


       1. MIRANDA SUMMAR,                        §
          Individually;                          §
                                                 §
       2. OLIVIA WELLS, Individually;            §
       3. PRISCILLA PENA, Individually;          §
       4. RHEANNA JACKSON,                       §
          Individually;                          §
       5. GABRIELLE GLIDEWELL,                   §
                                                 §
          Individually;                          §
       6. MORGAN BROWN RUSSELL,                  §          CIV-21-473-G
          Individually;                          §
                                                 §
                                                 §
                                                 §
                 Plaintiffs,                     §
                                                 §
 v.                                              §
                                                 §
                                                 §
       1. THE STATE OF OKLAHOMA ex               §
          rel UNIVERSITY OF CENTRAL              §
          OKLAHOMA;                              §
                                                 §
                                                 §
                 Defendant.                      §
                                                 §
                                                 §


              PLAINTIFFS’ ORIGINAL COMPLAINT AND JURY DEMAND


TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW Plaintiffs Miranda Summar, Olivia Wells, Priscilla Pena, Rheanna Jackson.

Gabrielle Glidewell, and Morgan Brown Russell and for cause of action would show this Court

and Jury as follows:

                                            PARTIES

      1. Plaintiff Miranda Summar (“Summar”) is an individual who, at the time of the sexual

         harassment, sexual assault and gender discrimination complained of herein, was a student

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   attending the University of Central Oklahoma. Summar is a resident of the state of

   Oklahoma.

2. Plaintiff Olivia Wells (“Wells”) is an individual who, at the time of the sexual harassment

   and gender discrimination complained of herein, was a student attending the University of

   Central Oklahoma. Wells is a resident of the state of Oklahoma.

3. Plaintiff Priscilla Pena (“Pena”) is an individual who, at the time of the sexual harassment

   and gender discrimination complained of herein, was a student attending the University of

   Central Oklahoma. Pena is a resident of the state of Oklahoma.

4. Plaintiff Rheanna Jackson (“Jackson”) is an individual who, at the time of the sexual

   harassment and gender discrimination complained of herein, was a student attending the

   University of Central Oklahoma. Jackson is a resident of the state of Oklahoma.

5. Plaintiff Gabrielle Glidewell (“Glidewell”) is an individual who, at the time of the sexual

   harassment and gender discrimination complained of herein, was a student attending the

   University of Central Oklahoma. Glidewell is a resident of the state of Florida.

6. Plaintiff Morgan Brown Russell (“Brown Russell”) is an individual who, at the time of the

   sexual harassment and gender discrimination complained of herein, was a student attending

   the University of Central Oklahoma. Brown Russell is a resident of the state of Oklahoma.

7. Defendant State of Oklahoma ex. rel. University of Central Oklahoma (UCO) is an

   institution of higher education located in Oklahoma County, Oklahoma.

                            JURISDICTION AND VENUE

8. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331,

   which gives district courts original jurisdiction of all civil actions arising under the

   Constitution, laws and treaties of the United States, 42 U.S.C. § 1988.



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9. Venue in this Court is proper under 28 U.S.C. § 1391 (b) because the events giving rise to

   this claim took place in this judicial district, and Defendant resides in this judicial district.

                              GENERAL ALLEGATIONS

                                  The Legal Framework

10. At all relevant times, UCO received federal funding for its academic programs and

   activities and was subject to the requirements of Title IX of the Educational Amendments

   of 1972, 20 U.S.C. § 1681 (“Title IX”).

11. Title IX protects students from discrimination “on the basis of sex,” which includes

   protection from sexual harassment and sexual harassment.

12. In 2001, The Department of Education (“DOE”), published the Revised Sexual

   Harassment Guidance: Harassment of Students by School Employees, Other Students,

   or Third Parties, 66 Fed. Reg. 5512, Jan. 19,2001. (“2001 Guidance”).

13. The 2001 Guidance, “…focuses on a school’s fundamental compliance responsibilities

   under Title IX….”

14. The 2001 Guidance notes that “due to the power a professor or teacher has over a student,

   sexually based conduct by that person toward a student is more likely to create a hostile

   environment than similar conduct by another student.”

15. The 2001 Guidance explains that “[Federal funds] recipients generally provide aid,

   benefits, and services to students through the responsibilities they give to employees” and

   is therefore responsible for an employee’s harassment or discriminatory conduct when the

   employee is carrying out these responsibilities. “The recipient, therefore, is also

   responsible for remedying any effects of the harassment on the victim, as well as for ending

   the harassment and preventing its recurrence. This is true whether or not the recipient has



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   ‘notice’ of the harassment.”


16. The 2001 Guidance acknowledges that, “Schools are required by the Title IX
   regulations to adopt and publish grievance procedures providing for prompt and
   equitable resolution of sex discrimination complaints, including complaints of sexual
   harassment, and to disseminate a policy against sex discrimination.”
17. It goes on to state, “These procedures provide a school with a mechanism for
   discovering sexual harassment as early as possible and for effectively correcting
   problems, as required by the Title IX regulations. By having a strong policy against sex
   discrimination and accessible, effective, and fairly applied grievance procedures, a
   school is telling its students that it does not tolerate sexual harassment and that students
   can report it without fear of adverse consequences.”


18. The 2001 Guidance recognizes that, “training for administrators, teachers, and staff and age-

   appropriate classroom information for students can help ensure that they understand what

   types of conduct can cause sexual harassment and that they know how to respond.”

19. The 2001 Guidance requires that a school’s sexual misconduct policies be widely

   disseminated. To that end, “Distributing the procedures to administrators, or including

   them in the school’s administrative policy manual may not by itself be an effective way of

   providing notice.”

20. In April 2011, the Department of Education, Office for Civil Rights (“OCR”) issued a Dear

   Colleague Letter (“DCL”) as a “significant guidance document” to “provide funding

   recipients with information to assist them in meeting their obligations.” The DCL provided

   the applicable framework for Title IX compliance through September 2017.

21. In September 2017, the Department of Education announced its intention to engage in

   rulemaking on the topic of Title IX, rescinded the 2011 DCL, and published a “Q&A on

   Campus Sexual Misconduct” to provide interim guidance for handling peer-on-peer sexual
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   harassment and sexual violence.

22. Effective August 1, 2020, the Department of Education issued its “Final Rule.” Having

   previously addressed the issues only through guidance documents, the Department’s Title

   IX regulations now recognize that sexual harassment, including sexual assault, is unlawful

   sexual discrimination and have the force and effect of law.

23. The Title IX regulations set forth the requirements for a school’s response to reports of

   sexual harassment, including formal and informal resolution.

24. Specifically, schools must not offer or facilitate an informal resolution process to resolve

   allegations that an employee sexually harassed a student:

          Informal resolution. A recipient may not require as a condition of enrollment or
   continuing enrollment, or employment or continuing employment, or enjoyment of any
   other right, waiver of the right to an investigation and adjudication of formal
   complaints of sexual harassment consistent with this section. Similarly, a recipient may
   not require the parties to participate in an informal resolution process under this section
   and may not offer an informal resolution process unless a formal complaint is filed.
   However, at any time prior to reaching a determination regarding responsibility the
   recipient may facilitate an informal resolution process, such as mediation, that does not
   involve a full investigation and adjudication, provided that the recipient …does not offer
   or facilitate an informal resolution process to resolve allegations that an employee
   sexually harassed a student. 34 C.F.R. 106.45(b)(9)(iii).

   The Regional University System of Oklahoma (“RUSO”) Title IX Policy

25. UCO is a member of the Regional University System of Oklahoma (“RUSO”).

26. According to RUSO’s “Title IX – Sex Discrimination, Sex-Based Misconduct and Sexual

   Harassment Policy,” the system and its member universities “are committed to providing

   an educational, living and working environment that is free from discrimination based on

   sex for all members of its community to include students, faculty, staff, contractors, and

   visitors….All members of RUSO are expected to adhere to the requirements of this Policy

   and the standards of each member university.”



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27. The “University Policy” page on UCO’s website provides a link to the RUSO policy under

   the heading of Discrimination and Harassment.

28. The RUSO policy purports to provide the exclusive means for addressing reports of sexual

   harassment or sexual misconduct: “Alleged conduct reported pursuant to this Policy,

   whether or not the conduct constitutes a violation of this Policy, may violate other RUSO

   or university policies. The member university reserves the right to take disciplinary action

   for conduct reported under this Policy that constitutes a violation of any other university

   policy. If dismissal, suspension, or any other discipline of a faculty member or student

   is recommended as a result of a violation of this policy, the RUSO Title IX policy is the

   exclusive forum for such discipline and any appeals related thereto. The processes

   related to dismissal, suspension, or any other discipline set forth in RUSO policy Chapter

   3 (Academic Affairs) and Chapter 4 (Student Affairs) and any related member university

   policies are superseded hereby and do not apply to faculty or students who have been

   found to have violated the RUSO Title IX policy and the discipline recommended as a

   result thereof.”


29. The RUSO policy distinguishes between reporting incidents of sexual harassment and

   filing a formal complaint regarding an incident of sexual harassment. According to the

   policy, “[r]eporting incidents of Sexual Harassment informs the member university of the

   incident, allowing the member university to provide Supportive Measures to the

   Complainant and does not necessarily result in the initiation of the grievance process (as

   described in Section 4.03 of this Policy). Complainants who report incidents of Sexual

   Harassment will be offered individualized Supportive Measures. If a Complainant wishes

   to initiate the grievance process, they must file a Formal Complaint.

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30. The RUSO policy provides that “ Complainants may file a Formal Complaint with the Title

   IX Coordinator or the Deputy Title IX Coordinator. In order for corrective or disciplinary

   action to be taken against a RUSO or member university employee or student, it may be

   necessary for a signed Formal Complaint to be filed and for the Complainant to

   cooperate with the member university’s investigative process. However, a Complainant

   alleging sexual harassment may be offered individualized Supportive Measures. A signed

   Formal Complaint can be provided to the Title IX Coordinator or Deputy Title IX

   Coordinator by mail, email, or in person. The Formal Complaint must include the specific

   allegations and name of the Respondent(s). Title IX Coordinators may proceed with Formal

   Complaints without a Complainant signing it.”

31. The RUSO policy provides for informal resolution: At any time after the filing of a Formal

   Complaint and but not less than ten (10) days prior to a live hearing, either party may

   request that the member university facilitate an informal resolution. Informal resolution is

   an available option when both parties voluntarily agree to participate and if the Title IX

   Coordinator agrees that informal resolution is appropriate given the nature of the

   allegations and the relationship of the parties.

32. The RUSO policy fails to recognize that Title IX regulations specifically prohibit informal

   resolution of complaints by a student against an employee.

                             UCO’s Equal Opportunity Statement

33. UCO approved the following Equal Opportunity Statement in 2015:

           The University of Central Oklahoma (University) is committed to an inclusive

   educational and employment environment that provides equal opportunity and access to all

   qualified persons. The University will continue its policy of fair and equal employment



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   and educational practices without discrimination or harassment because of actual or

   perceived race, creed, color, religion, alienage or national origin, genetic information,

   ancestry, citizenship status, age, disability or handicap, gender, marital status, veteran

   status, sexual orientation, gender identity or expression, or any other characteristic

   protected by applicable federal, state, or local law. Discrimination or harassment in

   violation of this policy should be reported to the Affirmative Action Officer (Diane

   Feinberg, Assistant Vice President of Human Resources) in person at 204 Lillard

   Administration, or by phone at (405) 974-2658 or fax at (405) 974-3827. After office hours

   or on holidays, the report may be made by contacting University Police Services at (405)

   974-2345.

                              UCO’s Sexual Relationship Policy

34. UCO addresses sexual relationships between employees and students through policy: 1.4.1

   SEXUAL RELATIONSHIP POLICY: The University affirms its commitment to the fair

   exercise of academic and employment power and adequate protection of individuals with

   limited power. University employees, including administrators; faculty; coaches;

   extracurricular, extramural, and intramural activities supervisors; graduate assistants; and

   staff should demonstrate respect for students as individuals and adhere to their proper roles

   as academic guides, counselors, and facilitators. Employees must refrain from any

   exploitation of students and other employees. Such use of power to create sexual

   relationships will be dealt with promptly and confidentially by the university

   administration.

35. The Sexual Relationship Policy prohibits sexual conduct with students:




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   1.4.2 SEXUAL CONDUCT WITH STUDENTS PROHIBITED: No employee shall

   engage knowingly or attempt knowingly to engage in consensual or nonconsensual sexual

   conduct with any student whom the employee supervises, acts as academic advisor for, or

   over whom the employee has any power to determine the student’s grade; honors;

   discipline; research opportunity; scholarship opportunity; acceptance in a graduate or other

   program of study; participation in arts, athletic, academic, or extracurricular competition;

   work-study assignment; or similar education-related matter. University employees’ sexual

   liaisons with students in such situations exploit position, abuse power, and fundamentally

   harm the academic relationship. Voluntary intoxication with drugs, alcohol, or other

   substances shall not negate knowledge.

36. The Sexual Relationship Policy defines sexual conduct:

   1.4.4 DEFINITION OF SEXUAL CONDUCT: “Sexual conduct” includes, but is not

   limited to, any act, erotic touching, romantic flirtation, conversation of a carnal nature,

   advance or proposition for sensual activity, erotically explicit joke, remark of a carnal

   nature describing a person’s body or clothing, display of an erotic object or picture, and

   physical contact reasonably believed to be of a sensual or flirtatious manner. “Sexual

   conduct” does not include reasonable use or delivery of bona fide lecture and/or

   instructional acts, statements, or materials.

37. The Sexual Relationship Policy provides for sanctions:

   1.4.5 SANCTIONS: Sexual conduct with students or employees in violation of this policy

   will not be tolerated. Appropriate disciplinary action may include a range of actions up to

   and including dismissal and/or expulsion.




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                                    The Factual Background

38. The University of Central Oklahoma (“UCO”) is a public university with an undergraduate

   enrollment of approximately 14,000 students.

39. Kato Buss (“Buss”) is an associate professor and has served as the chairperson of UCO’s

   Department of Theatre Arts for the past four years. Buss has recently been promoted to

   Interim Assistant Dean of the College of Fine Arts and Design.

40. Buss teaches courses in acting, directing, theatre history, dramatic literature and

   coordinates a study tour program in which he takes groups of students abroad each summer.

41. Over a period of years, Buss engaged in inappropriate behaviors that were calculated to

   and did result in a sexually hostile environment for female students in the theatre program.

42. Buss targeted vulnerable young women, in some cases while they were still high school

   students. At recruiting events, he paid particular attention to girls who did not have parental

   support, were first generation college students or who did not have financial resources. He

   lavished them with praise, telling them they were smart, talented and mature. Buss lured

   them to UCO with promises of scholarships and acting opportunities.

43. Each year, Buss chose a select freshman or two to add to his close inner circle of favorites.

   The favorites were always female and his approach was always the same. The chosen

   student received special one- on- one time and private coaching for auditions. Buss invited

   his favorite young women to go on multiple out of state school events and went out of his

   way to secure scholarship funds to ensure they could participate.

44. The young women were thrilled to receive Buss’ attention and praise. They felt valued and

   special. They were excited to learn from Buss and grateful for the opportunities he provided

   them.



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45. As the young women spent more and more time with him, Buss probed them for details

   about their families and personal lives He began to share details about his own. Buss

   mocked other students and faculty members, drawing the young women closer to him while

   isolating them from their peers and faculty. Interest and support turned to manipulation and

   betrayal.

46. Buss communicated with each of the young women privately via text and Snap Chat. He

   met with them alone in his office, always with the door closed.

47. On school sponsored trips, both out of state and out of the country, Buss drank alcohol with

   students, including under-age students, in his hotel room. He transported the students who

   were over 21 to buy alcohol who in turn shared the alcohol with the underage students with

   Buss’ knowledge and approval. Buss became intoxicated on multiple occasions during

   these student trips.

48. Chris Domanski, the then- assistant dean for UCO’s College of Fine Arts and Design,

   witnessed Buss’s actions on at least one of these trips and also provided alcohol to underage

   students.

49. Buss engaged in behavior that created a sexually charged environment. Buss flirted with

   the young women and made frequent sexual innuendos. He remarked about the young

   women’s appearances, commenting on their hair, their breasts and their clothing. He

   touched them in ways that were offensive and made them uncomfortable, including

   grabbing their buttocks and embracing them with full frontal hugs. The young women were

   left feeling conflicted and confused. Buss had so successfully blurred the boundaries

   between professor and student that they could no longer trust their own instincts as to what

   was appropriate.



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50. Plaintiffs all heard rumors from the time they became involved in the UCO theatre

   department that Buss was involved in a sexual relationship with an older female student.

   They all chose to ignore the rumors and grew more devoted to Buss.

51. However, the rumors became truth for one of the Plaintiffs. During the Fall semester of

   2017, after two years of grooming, Plaintiff Summar succumbed to Buss’ advances. The

   two began engaging in physical sexual activity in his office before and after rehearsal.

52. In December 2017, Plaintiff Brown Russell reported to UCO that Buss had

   grabbed/slapped her buttocks during an out-of-state trip. Brown Russell also outlined Buss’

   use of alcohol with students and other harassing behaviors.

53. Plaintiff Glidewell provided a statement in support of Russel’s Title IX Complaint and

   attempted to report her own experiences with Buss’ inappropriate behavior and sexual

   harassment.

54. UCO failed to fully investigate Brown Russell’s complaint that Buss touched her

   inappropriately, rushing through the process and failing to interview witnesses named by

   Brown Russell. UCO ultimately found Buss “not responsible” for Brown Russell’s

   allegations.

55. UCO did not consider Glidewell’s report as a Title IX complaint. Rather, Deputy Title IX

   Coordinator Adrienne Martinez referred to the incidents Glidewell reported to be

   “managerial concerns” more appropriately handled by Employee Relations.

56. Included in Brown Russell’s Title IX Complaint was an allegation that Buss was involved

   in a sexual relationship with Summar. UCO spoke briefly to Buss and Summar who denied

   that they were involved in a romantic or sexual relationship. Buss convinced Plaintiff Wells

   that Brown Russell’s accusations were false and manipulated her into defending him.



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   Notably, Wells informed Martinez that Buss had approached her prior to her interview and

   discussed with her how she should respond to the investigator’s questions. Martinez

   seemed uninterested in Buss’ attempts to interfere with the investigation.

57. In March 2018, the Title IX Coordinator advised Brown Russell and Glidewell that the

   following directives had been given to Buss:

           1.   Refrain from travel with groups that [Glidewell and Brown Russell] attends.
           2.   Provide a liaison for administrative needs as needed (chair permissions, etc.)
                for [Glidewell and Brown Russell.]
           3.   Maintain compliance with overnight-trip alcohol policies by utilizing the
                Office of Student Conduct for behavioral expectation briefing.

58. The Title IX Coordinator related that Buss was given the following “additional advice:”

           1. Consider how to deliver feedback to students from third-parties, where that
              feedback may seem sexual in nature, or relate to physical appearance.
           2. Refrain from consuming alcohol with current students whenever possible.
           3. Maintain annual Sexual Misconduct & Gender-Based Harassment training
              annually as required by all faculty/staff to be better educated on UCO
              Discrimination and Harassment policies.
           4. Minimize, wherever possible, the perception of favoritism in the Department of
              Theatre Arts.
           5. Minimize any remarks that may be construed as flirtatious or containing
              innuendo of a sexual nature.
           6. Minimize physical contact with students. If you are going to hug a student,
              obtain permission first.

59. Buss’ behavior did not improve after the December 2017 complaints. Throughout 2018,

   2019 and 2020, Buss continued to engage in sexual misconduct with Summar, continued

   to target and begin grooming young women as they entered the program, continued to

   sexually harass and manipulate his “favorites,” and continued to become intoxicated and

   provide underage students with alcohol. His behavior instead escalated and he retaliated

   against the young women who complained.




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60. While female students in the theatre department were struggling after having been

   dismissed and discredited, Buss was being rewarded by the university with accolades and

   promotions.

61. In September 2020, Plaintiff Summar filed a Title IX complaint through UCO’s website.

   She acknowledged that she had in fact been involved in a sexual relationship with Buss

   and explained that she had been manipulated to lie to protect him. She named Plaintiffs

   Wells, Pena and Jackson as witnesses.

62. In October 2020, Plaintiff Wells joined Summar as a co-complainant and shared her own

   experiences with Buss’ abusive, manipulative and sexually inappropriate behavior.

63. A “no contact order” was entered and another theatre professor was named to act as an

   intermediary between Wells and Buss.

64. On October 26, 2020, Erika Cerda, UCO Director of Employee Relations, contacted Wells

   and Summar via email. She made them aware of a “frank” meeting she had with Buss in

   which he took “some initial responsibility.” She explained that she would be meeting with

   him “at length later this week to obtain a better understanding of his perspective and

   recounting.”

65. In the same message, Cerda advised Wells and Summar:

    We have a few things to decide at this point, chiefly whether this moves forward
   as an informal or formal resolution. The words are imperfect. Both methods can
   have the same low or high level consequences. Really, what we’re talking about is
   the process. Informal processes are HR processes, where we take undisputed facts
   and work with senior leadership to determine consequences. Nothing is less
   serious in this process however it can move much quicker.
   The formal Title IX process for this case would include each Complaining or
   Responding party reviewing a document of all gathered information and
   testimonies with a 10-day rebuttal period. Then, I would create a credibility
   analysis. Finally, a decision maker would determine whether a policy violation
   occurred and, if so, what sanctions (consequences) would be involved.



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66. On November 6, 2020, Wells and Cerda were scheduled to meet separately with Cerda and

   Mary Deter-Billings, Manager of Employee Relations.

67. Cerda updated Wells on her conversation with Buss, acknowledging that Buss admitted

   most of the allegations she and Summar presented. According to Cerda, Buss admitted full

   responsibility for Summar’s allegations and told them not to question the credibility of

   Well’s accounts. Cerda encouraged Wells to forego the formal Title IX process and opt

   instead for an “informal HR process.” Cerda expressed her opinion that, since there were

   no issues of credibility, Title IX would draw things out unnecessarily. She told Wells that

   “If it were my children, I’d want swift action taken.”

68. Similarly, Cerda discussed with Summar the differences between the Title IX and HR

   processes. She mentioned that Summar’s “case” did not really fall under “the umbrella”

   of Title IX because of the time that had passed and stressed the swiftness of the HR process.

   Cerda convinced Summar that the informal HR process was the better course of action,

   assuring her that both carried the same weight with the university and the consequences

   were the same.

69. On December 17, 2020, Wells and Summar received an email containing a series of

   confusing and contradictory statements and references to university policy. First, the letter

   provides that Summar’s “report involves an alleged policy violation(s) from the current

   University of Central Oklahoma (UCO) Discrimination and Harassment Policy” and

   indicates   that    she   may     access      a   current   copy    of    the    policy    at

   https://www/uco.edu/offices/policy/files/equal-opportunity-statement-pdf.       The   linked

   document is UCO’s Equal Opportunity Statement set out in Paragraph 24 above. The Equal




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   Opportunity Statement directs not to the Title IX Coordinator but to the “Affirmative

   Action Officer (Diane Feinberg, Assistant Vice President of Human Resources).”

70. According to the December 17, 2020 letter, Summar’s allegations “are based on a report

   that the Respondent has participated in grooming and manipulation, resulting in a non-

   consensual sexual relationship as well as an environment of favoritism.” The letter

   expressly acknowledges that the report contained allegations that an employee engaged

   in sexual misconduct directed at a student.

71. In direct contravention of the Title IX regulations which prohibit information resolution

   where the allegations are made by a student against an employee, the December 17, 2020

   letter goes on to state:

          Per our discussion, the University offers two forms of resolution for reports of
   Prohibited Conduct: (1) Informal Resolution (as described in Section I.5.3.A), which
   includes a variety of informal options for resolving reports, and (2) Formal Resolution,
   which involves an investigation and review and possible sanctions (if applicable) by the
   appropriate University Manager (as described in Section I.5.3.B).


72. UCO did not provide copies or links to the referenced policy sections and Plaintiffs have

   been unable to locate policies so numbered in any available resource.

73. The December 17, 2020 letter indicates that “Informal Resolution” was pursued and “a

   combination of interventions and remedies have been utilized.” The letter states that the

   University has implemented relative sanctions against Respondent and considers the matter

   resolved and closed.”

74. Cerda refused to disclose the nature of the “relative sanctions.”

75. Buss continues to teach, direct productions, contact students outside of class. Far from

   disciplining him, UCO has emboldened him, allowed him continued access to young

   women and even rewarded him with promotions.

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                                  Plaintiff Miranda Summar


76. Plaintiff Miranda Summar (“Summar”) met Buss for the first time in 2015 in the Fall

   semester of her Freshman year at UCO when she decided to change her major from

   undecided to theatre arts.

77. Buss took an immediate interest in Summar and, as a first-generation college student,

   Summar welcomed his advice and assistance. Buss went out of his way to provide Summar

   scholarship money and offered her private coaching for auditions.

78. In the Fall of 2016, Summar’s sophomore year, Buss cast her in her first production at the

   university. Her role was “Sex” and her costume was lingerie. She was 19 years old.

79. Summar quickly realized she was one of Buss’ “favorites.” Buss texted her frequently,

   called her in for one-on-one meetings in his office and provided her with private coaching.

   Summar looked up to Buss and was happy to be one of the young women to whom he paid

   special attention.

80. In the Spring of 2017, Buss invited Summar to attend multiple out-of-state events. Alcohol

   was involved in all of the events. Buss facilitated drinking by students – including by

   Summar and other underage students. Buss joined in the drinking and on one occasion

   walked around the hotel drunk carrying a large bottle of whiskey.

81. Buss took Summar, Olivia Wells and three other female students to a school sanctioned

   event that Spring in Tennessee. Buss used the trip as an excuse to drink alcohol and texted

   Summar and Wells late one night for snacks because he was drunk and hungry.

82. Buss drove several female students to another out-of-state festival the same semester. IT

   was on this trip that Buss began referring to Summar as his “baby.” He flirted with her and

   made remarks about her appearance, calling her “beautiful.”

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83. During the Summer of 2017, Summar went on a study tour to Scotland with Buss and

   several other students, including Wells. Buss supplied scholarship funds to enable Summar

   to attend. Throughout the trip, Buss showered Summar with attention. He took Summar

   and Wells to a play but did not invite the other students who were on the tour. Buss texted

   Summar daily. He told Summar he had an estranged relationship with wife and made

   constant innuendos to her about his romantic and sexual feelings toward her.

84. In the Fall of 2017, Buss’ pressure on Summar increased. He cast her as the lead in his

   production. During rehearsal, Summar went to his office before and after rehearsal for

   private coaching. One night, after the other cast members had left, the two engaged in

   sexual activity. The sexual acts, including kissing, oral sex and groping, continued in his

   office before and after rehearsals. Summar was 19 years old. Buss was in his late forties.

85. Summar confided in Rheanna Jackson about the romantic and sexual relationship that Buss

   had fostered with her. At the time, Summar believed that Buss was in love with her and

   she was in love with him.

86. In December 2017, a former student alerted Summar that Morgan Brown (now Brown

   Russell) was filing a Title IX complaint against Buss and had alleged that Summar and

   Buss were involved in a romantic relationship. Summar denied the relationship to the

   student and reported this information to Buss.

87. Summar met with Buss in his office on a Sunday afternoon prior to Buss being contacted

   by UCO’s Title IX officer. Together they deleted text messages and other digital

   communication reflecting their involvement with each other.




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88. After Buss received the report and learned that evidence had been provided establishing

   that he had been to Summar’s apartment, he and Summar agreed that they would tell the

   Title IX investigator that he had been dropping off a book.

89. When Summar was contacted, she denied the relationship and explained the reason for

   Buss being at her apartment directed. She was never contacted about the report again.

90. Buss continued his relationship with Summar through the Spring of 2018. They stopped

   meeting in his office as frequently. Instead they met in a parking lot where she would get

   in his car and they would drive around. On one occasion, Buss invited Summar to his home

   when his wife was out of town.

91. Summar noticed that Buss was very angry with Brown Russell for filing the Title IX

   complaint and was hostile toward her.

92. During her first few semesters at UCO, Summar heard rumors of Buss having relationships

   with female students but chose not to believe them. He had convinced her that she was

   special and that she was the only student he had ever been involved with. Now, however,

   Summar began to doubt Buss’ truthfulness and the genuineness of his feelings toward her.

   She tried to distance herself from him and eventually stopped responding to his messages

   unless they were school related.

93. In the Fall of 2018, Summar began to plan for graduate school auditions. Buss again

   increased the amount of attention he paid her. He offered private coaching and told other

   directors they could not cast her in their shows because he had to have her. Buss continued

   to contact her after her graduation in May 2019.




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94. Throughout 2020, Summar struggled with the trauma of her experiences in the UCO theatre

   department and Buss’ exploitation. Finally, she shared what had happened with Wells and

   other close friends. In September 2020, she filed her Title IX report.

                                        Plaintiff Olivia Wells

95. Plaintiff Olivia Wells (“Wells”) entered the UCO Department of Theatre Arts in the Fall

   of 2015 at age 18 after being recruited by Buss. From the beginning it was clear she was

   his new favorite student.

96. Wells received special privileges, including more private coaching and better opportunities

   that most of Buss’ other students.

97. At a competition, Wells recalls Buss obsessing over her long curly hair, telling her it made

   her look “wild.” She felt very uncomfortable but at the same time empowered by his

   interest.

98. Upperclassmen told Wells she was “THE freshman,” and that Buss was really interested

   in working with her in his next production. He summoned her to his office many times to

   read the script for him even though the script had not been released to other students.

99. Buss demanded loyalty from his “favorites.” He frequently expressed his dislike for the

   female theatre professor who was Well’s acting teacher If Wells spent too much time with

   her, Buss would become angry and punish her, giving her the silent treatment.

100. Wells travelled to Texas to observe auditions for prospective fine arts students with Buss.

    During the trip, Buss told her repeatedly that he planned to cast her in the lead of the next

    play. At dinner one evening, Buss got drunk and became very emotional about their

    relationship and her work at UCO.




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101. During a rehearsal, Buss told Wells to kiss her scene partner. Buss did not ask either if

    they were comfortable with the kiss and required them to do it in from of the cast and

    stage management team.

102. Buss drank heavily during school trips and provided alcohol to students, including

    underage students. During a trip in the Spring of 2017, Buss came to most of the events

    intoxicated. He asked Wells to read his tarot card while extremely drunk and made

    inappropriate comments throughout the reading. Buss either asked Wells if he could

    “touch” her or “hit” her.

103. In the Fall of 2017, both Wells and Summar were called back for the role Buss had

    promised to Wells. Summar was offered the role. Wells was very emotional as she felt

    manipulated and deceived by Buss’ promises. In response, Buss cried and told her that he

    was sorry that she had been hurt.

104. During rehearsal, Summar came to rehearsal two hours early every day for private

    coaching. Buss showed her much more attention than the rest of the cast and emotionally

    exploited her in the rehearsal room. Before shows, Buss pulled Summar aside privately

    and talked to her. After the last show, he was an emotional wreck, hugging Summar and

    not acknowledging the rest of the cast. Wells learned later that it was during this time that

    the sexual relationship between Buss and Summar began.

105. Buss’ manipulation of Wells continued as he tried to defend himself when the relationship

    with Summar was exposed in connection with Brown Russell’s 2018 Title IX Complaint.

    Tipped off about the report, Buss texted Wells and asked to meet with her privately.

    Weeping, Buss told Wells that the allegations were untrue and that Brown Russell was

    trying to ruin his marriage, career and life. Buss told her that he had lost weight and was



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    struggling with his mental health as a result of the report. He begged her to believe him

    and asked her to be a “character witness” for him. At the time, Wells believed him. So

    blinded by her loyalty to Buss, she did not appreciate how inappropriate it was that he

    contacted her before she was interviewed. The Title IX Coordinator ignored Buss’

    interference too.

106. Wells remained in denial about Buss’ sexual misconduct. He had successfully groomed

    her to serve his emotional needs by sharing information with her about his marriage and

    personal life. He exploited her classmates by sharing private information about them and

    openly mocked his colleagues to her. He pitted Wells and Summar against each other,

    forcing them to compete for his attention and affection.

107. Buss made Wells promises of a career and opportunities to be an actress. She ignored the

    discomfort she felt when he called her hot because he praised her brain and her talent too.

    Buss had convinced her that her success as a young actress and an academic was totally

    dependent on him.

108. When Summar confided in her that Buss had in fact manipulated her into a romantic and

    sexual relationship as Brown Russell had alleged, Wells was finally able to acknowledge

    the uncomfortable feelings she had denied. She realized that she had been carefully

    groomed, manipulated and controlled to keep Buss’ secrets.

109. Wells is currently enrolled in UCO seeking a second undergraduate degree.

                                    Plaintiff Priscilla Pena

110. Plaintiff Priscilla Pena (“Pena”) first met Buss in the Fall semester of 2018 when she

    changed her major from biology to theatre arts. She was excited about pursuing a career




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    she was passionate about and she eagerly enrolled in Buss’ Foundation of Theatre Arts

    class.

111. Buss took an immediate interest in Pena. He was caring and attentive, offering the support

    and encouragement for a creative career that she did not find at home. He frequently pulled

    her into his office to speak with her individually and offered her private coaching for

    auditions. She began to see Dr. Buss, her professor, as Kato, her friend.

112. During her first semester in the theatre department, Pena was cast as in Plaintiff Miranda

    Summar’s piece for a show that Buss was supervising. More roles in Buss’ productions

    followed.

113. In May 2019, Buss arranged for Pena to receive a scholarship to go on a New York Study

    tour with him and small group of art students. During the trip, Buss got tickets for Pena

    and another female student to attend a show with him where alcohol was being served.

    Immediately upon entering the theatre, Buss offered to buy the young women drinks –

    despite clear admonitions that alcohol was not to be permitted on the trip at any time.

    Throughout the trip, Pena and the other students would find Buss at the hotel bar drinking.

114. As a result of flight cancellations, Pena found herself alone with Buss in the Chicago

    airport on the way back to Oklahoma. He offered to buy her lunch and since she was out

    of money due to the unexpected delay, she accepted. During the lunch, Buss shared details

    of his personal life, including his marriage and made negative comments about his

    relationship with his UCO colleagues. The boundaries were blurred even greater.

115. A few months later, in July 2019, Buss again found scholarship funds that allowed Pena

    to travel to Scotland for another study tour to the famous Fringe Festival. Pena was

    assigned an extremely vulnerable part in the Buss’ show, which required her to burst into



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    tears. Buss, who was also performing in the show, positioned himself next to her on the

    stage and exploited her vulnerability. After directing her to look into his eyes after the

    very emotional scene, he would whisper to her on stage, “You did beautiful,” and

    sometimes even hug her. During the trip, Buss would nudge her playfully showing

    physical affection and say, “love you.” Pena was confused and conflicted. She wanted to

    believe that he was just being supportive but it felt wrong and made her uncomfortable.

116. Buss continued to suggest Pena to work on film projects and paid stage readings. He

    selected her and a few other students to film a movie in his home.

117. Buss texted Pena often, sometimes while she was in class just to “catch up.” He reached

    out to her every time she was cast in any show, offering his congratulations and reminded

    her he was supporting her. Although Pena found Buss’ frequent contact inappropriate, she

    was afraid to say anything for fear of upsetting or offending him.

118. In the Spring of 2020, Pena confided in Summar that she was increasingly uncomfortable

    and felt pressured to live up to being one of Buss’ “favorites.” Summar warned her to “be

    careful around Kato.”

119. In October 2020, Pena was interviewed as a witness in connection with Summar’s Title

    IX report. She declined a “no contact order,” concerned that she would be vulnerable to

    retaliation is Buss found out she had provided information.

120. Pena informed another professor that she planned to skip an audition during the Fall

    semester because she knew Buss would be casting. Buss contacted her through text and

    told her that she “should really sleep on it” because he had a role in his show for her. She

    did not reply.




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121. Pena’s anxiety was heightened when she learned that despite Summar’s complaint, Buss

     would still be employed at UCO. She has struggled to maintain her grades and has missed

     classes. She finds it difficult to walk around campus knowing that he is still there.

                                         Rheanna Jackson

122. Plaintiff Rheanna Jackson met Buss in 2016 at a UCO “Drama Day” recruitment event

    when she was were just 17 years old. Most students, if not all, were brought to the event

    by a parent. Jackson was brought by her high school drama teacher. Buss noticed.

123. Buss singled Jackson out, spending considerable time talking to her alone during this first

    meeting and others that followed. Buss flattered Jackson and made inappropriate

    comments. During a high school theater festival, Buss told Jackson that the room full of

    adults – mostly male college recruiters – were “all drooling over” her.

124. Buss told Jackson which colleges to meet with and which to blow off. Multiples times at

    the festival he got Jackson alone in a small hallway, always standing a bit too close for

    comfort, and made comments on how special, smart, talented, and mature she was.

125. While Jackson was still in high school, Buss invited them to see a show at UCO. Thrilled

    he would invite them, Jackson agreed. The two exchanged multiple emails about where to

    meet, and Buss bought her a ticket. Before, during, and after the show, Buss kept telling

    Jackson how special she was to be there with him. At one point during intermission he

    leaned over and said, “ I never do this with students, you are really special, I bet everyone

    is wondering what we are doing here together.”

126. A couple of months after Jackson started at UCO, Buss became very interested in her again.

    He began asking for meetings alone in his office, inviting Jackson on trips out of state,

    bonding with her over parent issues and abuse history. During these meetings, Buss always



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    closed his office door. Buss asked intensely personal questions and told Jackson about his

    own history of abuse.

127. During the Spring of 2017, Buss began inviting Jackson on several away trips. Buss used

    these trips to spend time with his “favorite” students. On every trip, there was underage

    drinking that Buss not only knew of but encouraged. Jackson witnessed Buss have

    inappropriate conversations and interaction with students while he was drunk.

128. During one of the trips, Jackson noticed that Buss was paying a lot of extra attention to

    Summar. There were rumors Buss was dating another student at the time and that student

    was also on the trip. Jackson saw that student leave Buss’ room one morning at 4 a.m.,

    after a night of drinking. Jackson knew something bad was happening but could not yet

    acknowledge it.

129. Buss invited Jackson on a trip to Scotland to participate in a theatre festival. He offered

    scholarships for going but told Jackson to “figure out the money aspect of it.” During the

    Scotland trip Buss began engaging in degrading and humiliating tactics in addition to

    isolating Jackson from Wells and Summar. Buss would go out of his way to exclude

    Jackson from events and conversations on this trip. Buss invited Summar and Wells to

    events and shows while he ignored Jackson.

130. Shortly after casting for Fall 2017 was announced, Summar confided in Jackson that she

    and Buss were engaging in a sexual acts. Summar informed Jackson that Buss was sexually

    abusing her in his office. This secret began to weigh on Jackson. She struggled to reconcile

    her conflicting feelings about Buss.

131. On one occasion when Summar and Jackson were in Buss’ office, Buss began playing a

    video he had recorded of Summar for a previous show. When Jackson caught Buss making



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    obscene gestures to Summar’s face and body, Buss just laughed. Jackson the office feeling

    confused and violated.

132. Jackson was hospitalized for a suicide attempt during this time. The pressure of knowing

    about the sexual abuse triggered an intense depressive episode.

133. Brown Russell told Jackson after rehearsal one night that Buss had assaulted her. Jackson

    disclosed to Brown Russell the information Summar had shared about Buss’ abuse and

    they decided to file a Title IX report. Jackson provided texts from Summar stating that

    Kato was at her house and was engaging in an inappropriate relationship with her.

134. Nothing happened as a result of the report. Buss was allowed to go on trips with students

    after the investigation concluded. Summar knew Jackson participated in reporting her

    relationship with Buss, and they grew distant. Buss cut off all contact with Jackson. He

    further isolated and ostracized her from the group.

135. Jackson dropped out, feeling unwelcome at UCO because of her participation in the report

    against Buss. However, after a few semesters off, Jackson wanted to go back to UCO in

    2019. Jackson did not have the money to attend, and since Buss had completely shunned

    her, she assumed she would not be able to obtain any scholarship funds.

136. Although uneasy, Jackson contacted Buss to ask for his help. Buss responded that he

    wanted to meet in his office and talk. When the two met, Buss told Jackson he wanted to

    cast her in show that year and offered scholarships. Reluctant but desperate to return to

    school, Jackson agreed to be in Buss’ show and accepted his promises of financial

    assistance.




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137. Jackson tried to put forget about Buss’ past misconduct and abuse. It seemed the university

    and the theatre department had, so, she thought, she should too. Buss arranged for her to

    attend classes and promised that she would receive credit once the scholarships came in.

138. Buss offered Jackson a large role in his show, let her pick out her own monologue, and

    gave her more creative control than ever before. Jackson felt special again. And after being

    degraded or ignored, it was a welcome change. However, this treatment would not last.

139. Jackson began to feel very uncomfortable at rehearsal and she did not want to be in a room

    alone with Buss anymore.

140. After the show ended, Jackson never received the scholarship money Buss promised.

    Jackson could not afford school, and the discomfort of knowing Buss was an abuser was

    just too much. Jackson stopped going to class. Buss he never reached out to her again or

    offered any update on the scholarships. Jackson dropped out again after the Spring of 2019.

                                       Gabrielle Glidewell

141. Plaintiff Gabrielle Glidewell (“Glidewell”) developed a rapport with Buss through the

     Freshman Introduction to Theatre class he taught. Glidewell had just been through a

     troubling incident involving the sexual assault of another student for whom she served as

     a witness in a Title IX complaint. As a result of the incident, Glidewell quit debate and

     lost her source of scholarship funding. She was feeling lost and Buss stepped in.

142. Buss encouraged Glidewell to attend the 2016 summer study tour abroad and arranged for

     her to receive scholarships to pay for the trip. Seven students travelled to Scotland to

     attend and perform in an international theatre festival. Glidewell was one of two students

     who were transitioning from Freshman to Sophomore.




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143. Glidewell was part of the ensemble of the show along with two other female students. The

    young women’s costumes were very revealing. Buss made comments about how

    Glidewell looked in her costume and would find excuses to touch her. Buss spent time

    with the young women in the small bathroom of the Airbnb, teaching them how to apply

    clown makeup.

144. During the trip, Buss frequently went out drinking with the students. He took Glidewell

    and one other student to a show, leaving the other students behind. He told Glidewell that

    she was special and promised her a role in his Fall show. He convinced Glidewell to

    change her major from Theatre Education to Theatre Performance. Buss was the head of

    Theatre Performance.

145. Glidewell started her sophomore year as a Theatre Performance major and desperately

    wanted to be one of Buss’ “favorite” students. It was well known that he had a group of

    students that he favored who routinely go the best roles, the best scholarships and had the

    easiest time in his classes. He favored the female students and seemed to have a special

    relationship with one of the women in particular. Glidewell suspected that something was

    going on between Buss and the female student while they were on the study abroad trip

    but she assumed that was just the way theatre and college was.

146. In the Fall of 2016, after giving her the script early in a closed-door meeting, Buss cast

    Glidewell in his show, Love and Information. The Love and Information rehearsal and

    performance process was traumatizing. Buss insisted that the cast talk about their deepest

    insecurities and traumatic life events during rehearsals and regularly screamed at them if

    they failed to meet his expectations.




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147. After Buss screamed at Glidewell or when he forced her into an emotional breakdown, he

    would rub her back, shoulders or hair, hug her and tell her she did “beautiful.”

148. Buss seemed particularly interested in the fact that Glidewell was openly bisexual and was

    dating another woman at the time. He paired her with the only openly gay woman and told

    Glidewell to “fall in love” with her scene partner. Buss ignored Glidewell’s pleas to

    intervene when her scene partner constantly tried to physically harm her. He paired two

    other female students and had them kiss in their scene. No one else in the cast knew about

    the kiss until the week before the show.

149. Buss encouraged Glidewell to bring her girlfriend to theatre events and seemed to want to

    watch them be physical with one another. Buss spent considerable time during closed-

    door meetings with Glidewell in his office discussing her sexuality and showed an

    inappropriate interest in her relationship with her girlfriend.

150. Buss communicated with Glidewell primarily through Snapchat and would regularly not

    respond to school related emails.

151. Glidewell began to feel like one of Buss’ favorites. He asked her to do extra things for

    him and made her feel special. She spent her sophomore year trying to please Buss so that

    she could get good roles and good scholarships. Buss made it seem like he controlled all

    aspects of her degree and her potential career.

152. During the Spring of 2017, Buss was the faculty member in charge of Glidewell’s

    undergraduate research, He approved her timesheets which in turn impacted her receipt

    of grant funds and worked on her research with her.

153. During an out of state trip in the Spring of 2017, Glidewell noticed troubling interactions

    between Buss and the female student she suspected was involved in a relationship with



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    him. The female student would frequently come back to the room she shared with

    Glidewell drunk and upset after having been with Buss. Buss drank with and gave alcohol

    to the students on this trip.

154. Buss’ attitude toward Glidewell became increasingly negative and hostile during the next

    trip. He refused to help her get the project she had completed the work for approved even

    though he had written and submitted proposals for other students. He did not want

    Glidewell’s partner, Morgan Brown (now Brown Russell), to attend. Buss yelled at

    Glidewell for seemingly no reason. At this point, Glidewell no longer felt welcome in the

    theatre department.

155. When Glidewell told Buss she intended to seek a transfer to NYU for her junior and senior

    year, Buss became angry with her. He tried to convince her not to even try, telling her that

    she was not good enough and would not make it. He refused to help with her audition

    tapes and actively failed to send the paperwork she needed for the transfer.

156. Glidewell did not transfer. Glidewell attempted to spend less time interacting with Buss,

    which made him more angry. Glidewell confided in Brown Russell that she had grown

    increasingly uncomfortable around Kato and Brown Russell in turn shared with her that

    Buss had touched her inappropriately on her buttocks. Around this time, Glidewell learned

    that Buss was involved in a sexual relationship with Summar. The pieces started to fit

    together.

157. In December 2017, Glidewell and Brown Russell filed reports with Title IX. Glidewell

    acted as a witness for Brown Russell and lodged a complaint about Buss’ inappropriate

    behavior with her. (See Paragraphs 43-49 above.)




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158. During a six-month internship with Disney World, Glidewell learned that Buss was found

    not responsible for any of the allegations she and Brown Russell had made. She was

    crushed. She had already experienced being black balled from the theatre department after

    the initial report and knew that she would not be safe at UCO.

159. To protect herself from further retaliation and harassment, Glidewell changed her major

    to General Studies with an emphasis in Theatre so that she could complete her degree

    online. Buss’ actions and the university’s failure to protect students left her feeling

    physically unsafe at UCO.

160. Glidewell reached out to faculty members at UCO to warn them about Buss, Charleen

    Weidell. Glidewell told Weidell that Buss was a predator and to watch out for him

    because he was a danger to students. She reached out to Weidell again in May 2020 to

    warn her about Buss. Glidewell’s warnings were and continue to be ignored.

                                    Morgan Brown Russell

    Plaintiff Morgan Brown Russell (“Brown Russel”) first met Buss when she began

   classes at UCO August 2014. Buss was the Head of Performance in the theatre

   department, so even though she was a theatre education major, Brown Russell took many

   of the theatre performance classes as a part of her degree. Since she also had an interest in

   performing, Brown Russell also auditioned for the productions for the year.

161. Her first week at UCO, Brown Russell auditioned for the productions and got a role in

    the play that Buss was directing. Immediately after she was cast, Buss began giving

    Brown Russell a lot more attention in class and asked her to come by his office just to

    talk. Buss told her that he likes to know the people he casts in his shows. When she went




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    to see him, Buss directed her to close the door so that no one else could bother them and

    explained that he liked to keep his attention "on one person at a time.”

162. In that first meeting, Buss told Brown Russell she was the only freshman that he had

    cast in the show and asked her how she felt about that. Brown Russell told him that she

    was excited and felt honored, and that she would try to prove he made the right decision.

    Buss asked her about her home life and some personal questions, like whether she was

    in a relationship and if she was involved with anyone in the department.

163. Many more meetings with Buss would follow. Buss asked Brown Russell about her

    mother, who had died by suicide when she was 15. Buss asked Brown Russell about her

    previous relationships. They talked about music a lot. On one occasion, Brown Russell

    was wearing a tank top that had Jim Morrison from the Doors on it. Brown Russell noticed

    that Buss kept staring at her chest and shirt and after class he asked her to follow him to

    his office. Brown Russell complied and Buss told her about how much he liked the Lizard

    King (Jim Morrison's nickname) and talked at length about how Morrison was like a

    Greek god in some ways and kept talking about him in a sexual context. Although the

    discussion made Brown Russell uncomfortable, she tried to brush it off.

164. About this same time, Buss gave Brown Russell a "feature" in one of his productions.

    Buss added a scene/transition in the play where Brown Russell whipped another

    character while they crawled on their hands and knees without pants on. While Brown

    Russell was whipping this person with a whip, Buss directed her to be screaming and

    yelling "like it was getting me off." This scene addition came out of nowhere to me and

    the rest of the cast. Although she was not comfortable doing the scene, Brown Russell

    did not want to be seen at a prude or disappoint Buss, so she did it. During the scene,



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    Brown Russell noticed that Buss looked pleased, but not in as a director might be

    expected to be. Rather, it seemed that Buss was deriving satisfaction or gratification

    from it. Brown Russell began to question Buss’ intentions but suppressed her concerns.

    He continued to give her positive feedback and attention in rehearsals and class and so

    she told herself she was exaggerating.

165. In February of 2015, Buss grabbed Brown Russell’s buttocks in the lobby of Concho

    Hall on the Campus of Angelo State University while the UCO Theatre Department was

    there for the Kennedy Center American College Theatre Festival (KCACTF). That same

    night Buss, while supplying alcohol and watching underaged students drink, and

    drinking himself, offered for and encouraged Brown Russell to sleep in his hotel room

    with him.

166. Brown Russell did not know who to report this incident to besides Buss or to Chris

    Domanski, the then-assistant dean for UCO’s College of Fine Arts and Design, who was

    also on that trip and who was also supplying alcohol to students. She was made to feel

    like she was getting special treatment on that trip by being the only freshman, so she did

    not want to upset anyone or seem ungrateful.

167. Brown Russell tried to act like the incident never happened and maintain good standing

    in the program. However, she never really felt safe in the program again. She felt that

    Buss vacillated between being upset with me for not accepting his advances and

    continuing to pursue an inappropriate relationship with her.

168. At the beginning of the Fall 2017 semester, Brown Russell told Gabrielle Glidewell

    about what had happened. Glidewell shared her own odd and uncomfortable experiences

    she had with Buss on a trip to Scotland. Although she became more concerned about



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    Buss, she remained hesitant to tell anyone else for fear of retaliation in the program for

    getting the head of department into trouble. Buss was well loved. She remained quiet

    and tried to distance herself.

169. Late in the Fall 2017 semester, Brown Russell learned from another student that Buss

    was having a sexual relationship with Summar. Brown Russell knew then that she could

    no longer remain silent. She told her Theatre Education Advisor Carrie Hill about the

    situation and asked what she should do. Hill referred her to UCO’s Title IX office.

    Brown Russell filed a complaint, outlining her own experience when Buss touched her

    inappropriately and reporting Buss’ sexual relationship with a student. (See Paragraphs

    43-49 above).

170. The university found Buss not responsible and but directed Brown Russell and Buss to

    avoid contact with each other. Brown was assured that as a result of her complaint Buss

    would not be involved in a class required of students selected to go to the Kennedy Center

    American College Theater Festival (KCACTF) in the Spring of 2018. Buss was in fact

    involved in the class and Brown Russell was forced to perform two scenes in front of him.

    Creating more drama, Buss waited until the day before the group was set to travel to the

    festival to announce in front of the entire group that he would not be going on the trip.

171. The university offered Brown Russell no support or guidance on how she could continue

    in the program without being in contact Buss. The university knew that Buss ran the

    program and wrote an exception allowing contact for work or school business. Because

    there was no way to avoid interaction with Buss, Brown Russell stopped participating in

    shows and in APO (the honor society for Theatre). Brown Russell was essentially also

    exiled from the program when Buss told others about her report against him.



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172. During the two semesters in which the Brown Russell attempted to distance herself from

    Buss and in which she filed the Title IX complaint, Brown Russell was denied scholarship

    money she had received the previous three semesters. After the Title IX complaint was

    closed with no sanction against Buss, Brown Russell received scholarship money again.

                      DISCRIMINATION ON THE BASIS OF GENDER
                           IN VIOLATION OF 20 U.S.C. § 1681
                                     (TITLE IX)

173. Plaintiffs incorporate all paragraphs of this Complaint is if fully set forth herein.

174. UCO’s acts and failures to act amounted to unlawful sexual harassment and discrimination

    on the basis of sex. The harassment and discrimination Plaintiffs suffered was sufficiently

    severe and pervasive to create an abusive, and sexually hostile educational environment

    for Plaintiffs. One or more UCO administrators or officials, with authority to take

    corrective action on Plaintiffs’ behalf, had actual notice of said harassment and

    discrimination and failed to adequately respond, in violation of their own policies. Those

    failures amounted to deliberate indifference toward the unlawful sexual conduct and

    retaliatory conduct that had occurred, was occurring, or was likely to occur. As a result,

    Plaintiffs were subject to continuing harassment and loss of educational opportunities.

175. Defendant maintained a policy of indifference to sexual misconduct, including sexual

    harassment, on campus.

      •   Defendant intentionally discouraged students from pursuing “formal” complaints

           under Title IX, actively diverting them to an “informal HR process.”

      •   Defendant knowingly and deliberately failed to comply with Title IX and its

          implementing regulations with regard to informal resolution of complaints against

          employees.


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      •   Defendant maintained multiple conflicting and confusing policies regarding sexual

          harassment and sexual misconduct by employees.

      •   Defendant deliberately mislead students as to their rights under Title IX.

      •   Defendant failed to enforce its policies, creating an environment in which sexual

          misconduct was tacitly approved.

176. Defendant’s policy of indifference created a heightened risk of sexual harassment on

    campus that was known and/or obvious to Defendant. Employee sexual misconduct was

    ignored and employees were empowered and emboldened to operate with impunity

    without fear of consequence. The heightened risk created by UCO’s actions and inactions

    was realized when Plaintiffs suffered sexual harassment and sexual abuse perpetrated by

    a UCO employee.

177. UCO failed to enact and/or disseminate and/or implement proper or adequate procedures

    to discover, prohibit or remedy the kind of gender-based discrimination that Plaintiffs

    suffered. This failure included, without limitation, non-existent or inadequate customs,

    policies or procedures for the recognition, reporting, investigation and correction of

    unlawful gender-based discrimination. Those failures amounted to deliberate indifference

    toward the unlawful sexual conduct and retaliatory conduct that had occurred, was

    occurring, or was likely to occur. As a result, Plaintiffs were subject to continuing

    harassment and loss of educational opportunities.

178. Defendant knowingly and deliberately concealed the breadth of the problem of sexual

    misconduct on its campus, including within the theatre department. Prior to the assaults

    and harassment suffered by Plaintiffs, UCO had actual knowledge that sexual misconduct,

    sexual harassment and gender discrimination was widespread on its campus, including in


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    the theatre department.

179. Defendant failed to train its employees with respect to detecting, preventing and

    responding to sexual misconduct. Defendant failed to train its students with respect to

    identifying sexual misconduct, preventing its occurrence and reporting its occurrence.

180. As a result UCO’s discrimination and deliberate indifference, Plaintiff have suffered loss

    of educational opportunities and/or benefits.

181. Plaintiffs have suffered and continue to suffer emotional distress, physical manifestations

    of emotional distress, embarrassment, loss of self-esteem, humiliation, loss of enjoyment

    of life, and have incurred and/or will incur expenses for medical and psychological

    treatment, therapy and counseling.

182. Plaintiffs have incurred, and will continue to incur, attorney’s fees and costs of litigation.

                                  RELIEF REQUESTED

   WHEREFORE, Plaintiff prays for damages; costs; interest; statutory/civil penalties

according to law; attorneys’ fees and costs of litigation, pursuant to 42 U.S.C. §1988 or other

applicable law; and such other relief as the court deems appropriate and just.

          PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL CLAIMS



Dated: May 10, 2021                                Respectfully submitted,

                                                   /s/ Sheila P. Haddock
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